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   IT IS ORDERED as set forth below:



   Date: June 1, 2020
                                                         _________________________________

                                                                    Paul W. Bonapfel
                                                              U.S. Bankruptcy Court Judge
 _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               :                 CHAPTER 7
                                                     :
AGORA HEALTH SOLUTIONS, INC.,                        :                 CASE NO. 20-63543-pwb
                                                     :
         Debtor.                                     :
                                                     :


ORDER APPROVING EMPLOYMENT OF ATTORNEYS, SUBJECT TO OBJECTION

         On May 28, 2020, S. Gregory Hays, in his capacity as Chapter 7 Trustee (the “Trustee”),

filed an application for appointment of Arnall Golden Gregory LLP (“AGG” or “Applicant”) as

attorneys for Trustee [Doc. No. 12] (the “Application”). The Application and accompanying

verified statement demonstrate that AGG is a firm of attorneys qualified to practice in this Court,

that Applicant is disinterested and represents no interest adverse to Debtor or the estate. As this

case     justifies   employment     of    a    professional      for    the   purpose        specified,




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it is hereby

        ORDERED that under 11 U.S.C. § 327 and Bankruptcy Rule 2014, the Application is

GRANTED: Trustee is authorized to employ Applicant as Trustee’s attorney during this Chapter

7 case. It is further

        ORDERED that compensation shall be paid to AGG upon notice, hearing, and approval

of the Court pursuant to 11 U.S.C. §§ 330, 331 and Bankruptcy Rule 2016 of an appropriately

detailed application. It is further

        ORDERED that this Order is entered subject to written objection of the U.S. Trustee or

any other party in interest within twenty-one (21) days from the date of entry of this Order. Any

objection to this Order shall be served on the United States Trustee, Trustee, and proposed

counsel for Trustee. If an objection is timely filed, then proposed counsel for Trustee shall

schedule a hearing on the Application and such objection pursuant to the Court’s open Calendar

Procedures, and shall provide notice of such hearing to the United States Trustee, Trustee, and

the objecting party.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
(404) 873-8500

Proposed Attorneys for Trustee




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Identification of parties to be served:

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